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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                   Southern District
                                                __________  District of
                                                                     of Florida
                                                                        __________

                       Mellissa Murray,                          )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No.
                                                                 )
            Account Resolution Services, LLC,                    )
                                                                                              21-CV-82505
                                                                 )
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Account Resolution Services, LLC
                                       1643 Harrison Pkwy STE 100 Bldg H
                                       Sunrise, FL 33323




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Sergei Lemberg, Esq.
                                       FL Bar No.: 1026228
                                       LEMBERG LAW, LLC
                                       11555 Heron Bay Boulevard, Suite 200
                                       Coral Springs, FL 33076


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT


Date:       Dec 20, 2021                                                                          s/ Dimas Rodriguez

                                                                                     Signature of Clerk or Deputy Clerk
